







							

	



				


NUMBER 13-05-151-CR


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


ENRIQUE GARZA,								Appellant,


v.


THE STATE OF TEXAS,						         Appellee.

                                                                                                                                      
				

On appeal from the 148th District Court of Nueces County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Justices Hinojosa, Yañez, and Garza


Memorandum Opinion by Justice Yañez



A jury found appellant, Enrique Garza, guilty of murder, a first-degree felony. (1)  The
jury assessed his punishment at life imprisonment and a $10,000 fine. (2)  Appellant's counsel
has filed a brief with this Court asserting there is no basis for appeal. (3)  We agree, and affirm
the trial court's judgment.

Anders Brief

According to counsel's brief, she has reviewed the clerk's record and reporter's
record and has concluded that appellant's appeal is frivolous and without merit. (4)  The brief
meets the requirements of Anders as it presents a professional evaluation showing why
there are no arguable grounds for advancing an appeal. (5)  In compliance with High v. State,
573 S.W.2d 807, 813 (Tex. Crim. App. 1978), counsel has carefully discussed why, under
controlling authority, there are no errors in the trial court's judgment.  In the brief, appellant's
counsel states that she has informed appellant of his right to review the appellate record
and to file a pro se brief. (6)  No such brief has been filed.

Upon receiving a "frivolous appeal" brief, the appellate courts must conduct "a full
examination of all the proceedings to decide whether the case is wholly frivolous." (7)  We
have carefully reviewed the appellate record and counsel's brief.  We agree with appellant's
counsel that the appeal is wholly frivolous and without merit. (8)  Accordingly, we affirm the
judgment of the trial court.     

Motion to Withdraw


In accordance with Anders, counsel has asked permission to withdraw as counsel
for appellant. (9)  An appellate court may grant counsel's motion to withdraw filed in
connection with an Anders brief. (10)  We grant counsel's motion to withdraw.

We order counsel to advise appellant promptly of the disposition of this case and the
availability of discretionary review. (11)      

                                                                       

							_______________________

							LINDA REYNA YAÑEZ,

							Justice




Do not publish.		

Tex. R. App. P. 47.2(b)


Memorandum opinion delivered and 

filed this the 10th day of August, 2006.
1.  See Tex. Pen. Code Ann. § 19.02 (Vernon 2003).
2.  See id. § 12.32 (Vernon 2003).
3.  See Anders v. California, 386 U.S. 738, 744 (1967).
4.  See id.  
5.  See Stafford v. State, 813 S.W.2d 503, 510 n.3 (Tex. Crim. App. 1991) (en banc). 
6.  See Sowels v. State, 45 S.W.3d 690, 693 (Tex. App.-Waco 2001, no pet.).  
7.  Penson v. Ohio, 488 U.S. 75, 80 (1988); see Garza v. State, 126 S.W.3d 312, 313 (Tex.
App.-Corpus Christi 2004, no pet.).  
8.  See Bledsoe v. State, 178 S.W.3d 824, 827-28 (Tex. Crim. App. 2005).
9.  See Anders, 386 U.S. at 744.
10.  Moore v. State, 466 S.W.2d 289, 291 n.1 (Tex. Crim. App. 1971); see Stafford, 813 S.W.2d at 511
(noting that Anders brief should be filed with request for withdrawal from case).  
11.  See Ex Parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997). 


